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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                                                           MDL NO. 1674
IN RE: COMMUNITY BANK OF NORTHERN
VIRGINIA MORTGAGE LENDING PRACTICES                        CASE NO. 03-0425, and
LITIGATION                                                 CASE NO. 05-0688


                                                           Hon. Arthur J. Schwab
THIS DOCUMENT RELATES TO ALL ACTIONS

                                                           ELECTRONICALLY FILED


                                     ORDER OF COURT

       AND NOW, this 13._"T'day of       {V\   M-.1     , 2016, upon consideration of the Parties'
                                                  \
Stipulation to File Confidential Discovery Materials Under Seal (the "Stipulation"), it is hereby

ORDERED, ADJUDGED and DECREED, that Plaintiffs, on behalf of the General Class and each

of the Sub-Classes, are hereby permitted to file under seal the portions of Plaintiffs' Concise

Statement of Additional Material Facts and Appendix related to Plaintiffs' Memorandum in

Opposition to Motion of Defendant PNC Bank, National Association for Summary Judgment

and Plaintiffs' Memorandum in Opposition to Motion of PNC Bank, National Association to

Decertify Class identified as the Confidential Items in the Stipulation.



                                                      BY THE COURT:




                                                 ~    United States District Judge
